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November 2 l, 201 8

By ECF

Honorable Pamela Chen
United States District Judge
United States District Court
Eastern District of NeW York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: United States v. Zorana Dam's, No. 15 Cr. 240
Request for Adjournment of Sentencing Date

Your Honor:

We represent the defendant Zorana Danis in this matter and request that sentencing,
currently scheduled for December 4, 2018 as a control date, be adjourned for approximately six
months to a date suitable to the Court. The government consents to this request.

Thank you for your time and attention to this matter.

Respectfully,

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Sean T. Haran

cc: All Parties Via ECF

